Case 2:19-cv-10586-GAD-SDD ECF No. 18-2 filed 08/23/19                PageID.179      Page 1 of 2




                             Exhibit A




                                                 Michael J. House v. General Electric Co., et al.
                                        USDC Eastern District of Michigan Case No.: 2:19-cv-10586
 Defendant General Electric Co.’s Reply Brief in Support of Its Rule 12(b)(1), (3), and (6) Motion
                                                                            to Dismiss 8/23/2019
8/21/2019 Case      2:19-cv-10586-GAD-SDD ECFhttps://portal.uspto.gov/pair/PAIRPrintServlet
                                                No. 18-2 filed 08/23/19 PageID.180                        Page 2 of 2
                         MULTI ALL FUEL PROCESSOR SYSTEM AND METHOD OF                                       08-21-
  09/259,593
                         PRETREATMENT FOR ALL COMBUSTION DEVICES                                             2019::12:38:57
 Bibliographic Data
                                                                  Correspondence
 Application Number:             09/259,593                       Address Customer           -
                                                                  Number:
                                                                                             Patent Expired Due to NonPayment
 Filing or 371 (c) Date: 03-01-1999                               Status:                    of Maintenance Fees Under 37 CFR
                                                                                             1.362
 Application Type:               Utility                          Status Date:               12-31-2018
 Examiner Name:                  GRAVINI, STEPHEN MICHAEL         Location:                  ELECTRONIC
 Group Art Unit:                 3749                             Location Date:             -
 Confirmation Number: 5475                                        Earliest Publication No:   -
 Attorney Docket                                                  Earliest Publication
                                 -                                                           -
 Number:                                                          Date:
 Class / Subclass:               431/011                          Patent Number:             7,140,873
                                 MICHAEL J. HOUSE , LINDEN, MI
 First Named Inventor:                                            Issue Date of Patent:      11-28-2006
                                 (US)
                                                                  International
 First named Applicant: -                                         Registration Number        -
                                                                  (Hague):
                                                                  International
 Entity Status:                  Small                            Registration Publication   -
                                                                  Date:
 AIA (First Inventor to
                                 No
 File):


                                                 MULTI ALL FUEL PROCESSOR SYSTEM AND METHOD OF PRETREATMENT FOR ALL
 Title of Invention:
                                                 COMBUSTION DEVICES

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